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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

PAVLE ZIVKOVIC, on behalf of himself and
others similarly situated,

                   Plaintiff,
       v.
                                                                 17-CV-00553-GHW
LAURA CHRISTY LLC d/b/a VALBELLA,
                                                                 PARTIAL JUDGMENT
LAURA CHRISTY MIDTOWN LLC, DAVID
GHATANFARD, and GENCO LUCA,

                   Defendants.

       WHEREAS this action was tried to a jury and, on April 11, 2022, the jury rendered a

verdict in favor of Plaintiff Pavle Zivkovic as well as in favor of the Subclasses that the Court

certified on November 13, 2018 (Dkt. No. 147); and

       WHEREAS on June 22, 2022, the Court entered judgment in favor of Plaintiff Zivkovic

as well as in favor of the Subclasses consistent with the verdict rendered by the jury (Dkt. No.

324); and

       WHEREAS by Order entered May 10, 2023, the Court granted in part the motion of

Defendants for a new trial pursuant to Fed. R. Civ. P. 59 and ordered: (1) a new trial as to

Plaintiff Pavle Zivkovic’s individual claim of discrimination against Defendant David

Ghatanfard; and (2) a new trial as to punitive damages on Plaintiff Pavle Zivkovic’s individual

claim of discrimination against Defendant Laura Christy Midtown LLC unless Plaintiff Zivkovic

accepted a remittitur (Dkt. No. 381); and

       WHEREAS the Court’s May 10, 2023 Order did not affect the jury’s verdict in favor of

the Subclasses, either as to liability or damages; and
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       WHEREAS the Court has expressly determined that there is no just reason to delay entry

of final judgment in favor of the Subclasses pursuant to Fed. R. Civ. P. 54(b) for the reasons set

forth in its Order dated June 30, 2023 (Dkt. No. 421); and

       WHEREAS, in accordance with Fed. R. Civ. P. 23(c)(3)(b), the names of the individuals

to whom notice was directed, who have not requested exclusion, and who the Court finds to be

class members are attached hereto as “Exhibit A” (the “Subclass Members”); and

       WHEREAS the Court has calculated the total damages of judgment due to the Subclass

Members based on the verdict rendered by the jury (Dkt. No. 283);

       It is HEREBY, ORDERED, ADJUDGED AND DECREED that the Clerk of Court shall

enter judgment as follows:

       1.      Pursuant to the jury’s verdict, Judgment shall be entered in favor of the

Subclasses and against Defendants Laura Christy LLC, Laura Christy Midtown LLC, and David

Ghatanfard, jointly and severally, in the amount of $4,509,868.78 which includes prejudgment

interest that was calculated and assessed as of the date of the Court’s original June 22, 2022

judgment (the “Class Jury Award”).

       2.      Plaintiffs’ counsel, Joseph & Kirschenbaum LLP, shall be awarded $1,503,274.56

as attorneys’ fees which shall be paid out of the Class Jury Award. For the avoidance of doubt,

this award of attorneys’ fees does not include fees incurred after entry of the Court’s original

judgment on June 22, 2022.

       3.      In addition, lead plaintiffs Ricardo Sanchez, Fernando Marin, and Alejandra C.

Rendon shall each be awarded $5,000 as service awards, in addition to the individual respective

amounts they are entitled to from this Judgment. These service awards shall also be paid out of

the Class Jury Award.



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       4.      In addition to the sum owed pursuant to Class Jury Award, the Court also awards

class counsel, Joseph & Kirschenbaum LLP, $561,948.50 in attorneys’ fees pursuant to the fee-

shifting provisions of the New York Labor Law (“NYLL”) as well as $20,200.57 in costs

pursuant to that statute for a total of $582,049.07. For the avoidance of doubt, these amounts do

not include fees or costs incurred after entry of the Court’s original judgment on June 22, 2022.

       5.      Accordingly, in aggerate, Judgment shall be entered in favor of the Subclasses

and against Defendants Laura Christy LLC, Laura Christy Midtown LLC, and David Ghatanfard,

jointly and severally, in the amount of $5,092,017.85 which includes prejudgment interest

calculated and assessed as of the date of the Court’s original June 22, 2022 judgment (the “Class

Judgment”).

       6.      Pursuant to New York Labor Law § 198(4), any or all of the $5,092,017.85 Class

Judgment amount which is not paid within ninety (90) days of this Judgment shall be

automatically increased at the rate of 15% of the Judgment.

       7.      The aforementioned Class Judgment amount shall be subject to post-judgment

interest at the rate fixed pursuant to 28 U.S.C. § 1961 accruing from the date the Court’s original

judgment was entered on June 22, 2022 until the date the Class Judgment is fully satisfied.

       8.      The Court, having determined that the Class Judgment should be immediately

enforceable, hereby dissolves the automatic stay on execution and enforcement provided for in

Fed. R. Civ. P. 62(a).

SO ORDERED.

Dated: July , 2023                                       ___
                                                           _ ______
                                                           __    ____
                                                                 ____
                                                                    ____
                                                                      ____
                                                                         _______
                                                                              _ __
                                                                                 _ __
                                                     _____________________________
New York, New York                                        GREG  GOR
                                                          GREGORY  RY H.
                                                                       H WOODS
                                                          nited States District Judge
                                                         United                 Judg




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                   EXHIBIT A




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             I. Valbella Meatpacking Subclass Members

                         Employee Name
                           Abazi, Qerim
                           Abrau, Ronald
                         Adorno, Marcielo
                            Ajala, Malik
                         Aktas, Mehmet H.
                          Alicka, Armand
                          Alikaj, Armand
                            Alla, Albert
                           Alomar, Irina
                         Alonso, Antonio
                            Altas, Onder
                        Andrada, Marcos A.
                          Arellano, Israel
                          Arucevic, Edmir
                        Avendano, Enrique
                         Azemi, Shkelqim
                       Azevedo, Luis Filipe
                           Azuni, Klaidi
                           Bakalli, Arvit
                           Baldeon, Luis
                           Balska, Irena
                       Bancila, Gheorghe O.
                        Barbosa, Laugenice
                           Beaven, Laura
                        Besimovski, Adnan
                        Bolotbekova, Elvira
                          Borsky, Victoria
                           Bozal, Deniz
                          Brown, Danielle
                         Brown, Kaitlin G.
                          Bucinca, Rigon
                      Buczkowska, Magdalena
                           Bytyqi, Faton
                       Calfin, Christopher L.
                          Calixto, Carlos
                         Caltabiano, Mark
                         Castillo, Henrique
                            Cela, Ermir
                       Cervone, Gina Marie
                          Cesare, Jennifer
                           Ceylan, Cihan
                         Chodhury, Ruhel
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                       Chowdhury, Mohshin
                        Chowdhury, Ziaur
                          Chulkova, Irina
                            Cici, Keidi
                           Closs, Daniel
                          Colakel, Kemal
                          Connell, Elisha
                         Cristescu, Adrian
                            Dani, Alfred
                           Daniel, Closs
                           Das, Ratan K.
                           Deak, Tescia
                       Dezzutti, Brianne M.
                           Diaz, Andres
                             Diaz, Ray
                        DiDonato, Natalia
                       Dominguez, Joaquin
                      Dreisbach, Katherine H
                        Dressler, Jacqueline
                          Durman, Burak
                           Errico, Mario
                        Escalier, Alvaro M.
                           Esenlik, Emre
                            Fejzaj, Haki
                         Forlong, Roy A.
                          Franco, Raul A.
                          Frrokaj, Bekim
                          Frrokaj, Blerim
                          Frrokaj, Burim
                           Frrokaj, Rafi
                       Garcia, Guillermo C.
                       Garcia, Guillermo T.
                          Garcia, Maykol
                           Gashi, Shaban
                          Gatica, Samuel
                            Geckil, Ulas
                         Gifoli, Massimo
                     Goddard-Braithwaite, Tara
                                 A.
                         Gomez, Fernando
                         Guzman, Cristian
                      Hadzibrahimovic, Sani
                     Hadzibrahimovic, Verdon
                         Halilaj, Anthony
                          Haque, Athikul

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                          Heras, Marco G
                         Hernandez, David
                         Hernandez, Lucas
                           Herrera, Javier
                        Hopson, Simone R.
                          Hossain, Sorwer
                     Jadlovszki-Koleszar, Rosa
                            Jara, Hector
                         Kadyrova, Amina
                          Kajtazi, Armend
                           Karim, Md A.
                           Kasmi, Amer
                            Kasmi, Gent
                        Kilpatrick, Michael
                           Kish, Tiffinie
                         Klement, Andrew
                         Kochurova, Olha
                            Konca, Ulas
                          Kowzan, Emily
                          Krasniqi, Argon
                          Krasniqi, Arjanit
                        Krasniqi, Shkelqim
                          Kreshnik, Fejzaj
                           Kudra, Goran
                           Kusari, Hanor
                             Lala, Petrit
                          Lamaj, Klodian
                         Lambert, Barbara
                         Ljuljudurj, Lindon
                           Lovric, Hanna
                         Lucgjonjj, Viktor
                           Mahir, Ahmed
                          Makulova, Adel
                        Maloku, Shkoderan
                          Marin, Fernando
                           Matos, Ivana
                          McDougal, Ellie
                            Mema, Jusuf
                           Miocic, Zeljko
                            Mitri, Siljon
                          Mora, Adrienne
                        Muhaxher, Gramos
                         Muhshin, Ahmed
                           Mulaj, Buyar
                            Musaj, Tush

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                          Nimani, Burim
                          Nomani, Henri
                          Noreci, Olsian
                            Ochoa, Juan
                          Olate, Edwin E.
                          Oshlani, Bahri
                          Oshlani, Florije
                          Ozturk, Sercan
                         Paguay, Oscar P.
                         Paiva, Christiane
                         Panaccio, Tamara
                             Papa, Elio
                           Pashako, Ertis
                        Pashako, Florence
                           Paska, Mikel
                          Patino, Alfredo
                           Pepaj, Arijan
                           Perdedaj, Zef
                       Pereira-Morales, Juan
                              Arnaldo
                            Pinos, Jorge
                          Pireva, Florent
                          Pllana, Leutrim
                      Portilla-Andrade, Jorge
                          Qosja, Bashkim
                           Qubreli, Genc
                         Quiros, Alejandro
                            Race, Derek
                            Raci, Agush
                         Rahman, Luthfer
                        Rahman, Mahbubur
                           Ramaj, Lirim
                          Rendon, Johan
                         Romano, John J.
                        Romero, Armando
                           Romero, Ivan
                         Rondon, Ender J.
                             Rosca, Ion
                          Rraci, Bashkim
                             Rraci, Imer
                          Ruiz, Israel R.
                           Sajid, Hassan
                         Sanchez, Higinio
                         Sanchez, Ricardo
                          Sandede, Unal

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                         Sanic, Hector R.
                         Scerri, Byron L.
                          Shala, Besfort
                            Shala, Sali
                          Shano, Etleva
                            Shano, Ivi
                         Shonar, Imran H
                       Shonar, Mohammed
                      Simmons, Francine B.
                        Sinsdale, Stephen
                        Titkova, Evgeniya
                            Torun, Ali
                          Ubdin, Misba
                          Uddin, MD A.
                           Uslu, Fikret
                        Uzzaman, Shamim
                           Vidas, Denis
                           Vita, Jemina
                        Xhemajli, Ekrem
                       Xhemajli, Shkelzen
                          Yilmaz, Tunch
                        Yilmaz, Unsal L.
                          Yozzo, Bricen
                         Zeidman, Nicole
                          Zherka, Agron
                         Zivkovic, Pavle

              II. Valbella Midtown Subclass Members

                         Employee Name
                        Acevedo, Dariana
                          Agzzoum, Aly
                          Alane, Rachid
                           Altas, Onder
                          Alvarez, Ivan
                         Aslantas, Ferhat
                          Atroce, Mario
                           Avella, Vito
                        Avendano, Enrique
                        Avila, William S.
                          Ayar, Turker
                          Azcatl, Edgar
                           Azir, Uddin

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                            Balska, Irena
                          Bekimi, Albino
                          Berisha, Albert
                        Bolmonte, Herminio
                         Boyadjan, Yuliya
                            Bravo, Luis
                            Brown, John
                         Brown, Kaitlin G.
                            Caka, Marko
                             Calle, Luis
                         Caltabiano, Mark
                           Canales, Jose
                          Candia, Felicito
                           Casales, Juan
                         Cassavitis, Ashley
                         Castillo, Henrique
                         Cedeno, Oliver H.
                          Celmeta, Ardian
                         Centeno-Martinez,
                               Javier
                            Chino, Noe
                             Cici, Keidi
                           Cohen, Arielle
                         Cvetrovsra, Marija
                           Dalbery, Scot
                            Dalipi, Arget
                          Darcourt, Joseph
                             Diaz, Ray
                        Dimitrova, Karmena
                         Duque, Alexander
                          Durman, Burak
                           Esenlik, Emre
                           Fabiani, Julio
                          Farlow, Troy J.
                        Fernandez, Jose A.
                           Forlong, Roy
                          Frrokaj, Bekim
                          Frrokaj, Blerim
                          Garcia, Maykol
                            Garcia, Saul
                            Gashi, Agon
                           Gashi, Dardan
                           Gaviria, Gloria

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                            Geckil, Ulas
                          Gifoli, Massimo
                         Gimenez, Giorgio
                       Giordano Jr., Joseph
                              Gjini, Zef
                         Goldman, Helena
                          Gomez, Sandra
                        Gonzalez, Antonio
                       Guzman, Cesar Ivan
                          Hahija, Blerim
                         Hardy, Patrick W.
                         Heras, Marco G.
                         Hernandez, David
                         Hernandez, Delia
                       Hirschhorn, Andrew
                           Hoxha, Granit
                            Islaim, Syed
                           Islam, Rasiqul
                            Jakaj, Mikel
                        Jaramillo, Selso W.
                            Jara, Hector
                           Jones, Natalie
                            Juka, Herald
                            Kasmi, Gent
                           Kasumi, Rijad
                            Kelly, Caitlin
                        Knezevic, Vojislav
                             Kraja, Eren
                         Krasniqi, Besnik
                         Krasniqi, Blerim
                           Leca, Catalina
                            Lee, Brian J.
                          Lopez, Rosendo
                           Lovric, Hanna
                       Lukacevic, Andrijana
                          Macar, Andelko
                        Martinovic, Kire J.
                       Maldonado, Jose Luis
                        Malfetano, Ryan J.
                          Marku, Freddy
                            Mashi, Mario
                           Mavraj, Ermal
                            Mema, Jusef
                       Mercado, Tiffany B.
                       Mercedes, Armando

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                           Miah, Moynul
                           Michos, Diana
                        Moctesuma, Rafael
                          Molina, Windsor
                         Mucollari, Hysen
                          Muniz, Antonio
                          Nikcevic, Ivana
                            Nino, Daniel
                            Nistor, Ionel
                        Onofre, Antonio De
                                Jesus
                       Orozco, Andres Felipe
                           Ortiz, Juan M.
                           Ozturk, Sercan
                        Paguay, Manuel F.
                           Paguay, Oscar
                           Pashako, Ertis
                         Pashako, Florence
                       Pashako, Stephany A.
                      Pelico-Perez, Urbano B.
                            Pereira, Juan
                           Perolli, Drilon
                          Petkovic, Bojan
                           Pllana, Florim
                        Poppsoba, Emiliya
                            Pusic, Nenad
                           Qoshja, Liburn
                           Queiroz, Louiz
                         Quiros, Alejandro
                          Quizhri, Wilson
                            Race, Derek
                          Radoncic, Jenuz
                            Rakaj, Ervis
                           Rakos, Robert
                           Ramirez, Jesus
                          Ramos, Rogelio
                       Rendon, Alejandra C.
                           Rivera, Jaime
                        Rodpothong, Kanda
                        Rojas, Juan Carlos
                         Romano, Roberto
                        Romero, Armando
                           Romero, Ivan
                            Rosa, Paola
                          Rraci, Bashkim

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                          Rucda, Antonio
                             Ruiz, Alex
                            Ryan, Quinn
                            Sajid, Hassan
                            Salgado, Juan
                        Sanchez, Christian
                        Sanchez, Johnathan
                         Sanchez, Ricardo
                             Sani, Bruno
                          Sarmiento, Jose
                           Sebbag, Yonni
                           Secolo, Angelo
                           Seferi, Milaim
                       Shannen, Timothy G.
                          Shokdra, Arben
                         Siguencia, Marco
                           Silva, Mauricio
                           Simaku, Endri
                          Simone, Kirstein
                        Simonetti, Cristiano
                           Slamna, Daniel
                         Smith, Brittany N.
                          Sornoza, Joshua
                           Tacuri, Vicente
                           Tononi, Fabio
                            Topal, Ismail
                             Uslu, Fikret
                        Uzzaman, Shamim
                            Valenca, Lais
                          Vasquez, Marco
                         Vazquez, Ricardo
                           Velasco, Erick
                           Veseli, Valmir
                       Wdowiak, Magdalena
                           Yilmaz, Tunch
                           Ymeri, Aridon
                            Yuce, Murat
                          Yungberg, Sofia
                          Zivkovic, Pavle




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